
Rapallo, J.
The act prohibiting appeals to this court in cases involving less than $500, was passed on the 2d of May, 1874. It did not prescribe when it should take effect, and consequently section 12 of the act entitled: “ Of the enactment and promulgation of statutes and of the time from which they shall take effect ” (1 R. S., 157) is applicable. That section provides that “ every law, unless a different time shall be prescribed therein, shall commence and take effect *127throughout the State on and not before the twentieth day after the day of its final passage, as certified by the secretary of State.” The twenty-second of May was the twentieth day after the final passage of the act in question, and it therefore became a law the instant that day began. This appeal was taken on the twenty-second. The act had then gone into effect. The appeal being .taken on that day could not have preceded the taking effect of the act, for with the beginning of the day the act went into operation, and nothing could intervene. The appeal was therefore taken after the act had gone into effect, and fell under the prohibition that no appeal should be thereafter taken, etc.
The appeal must be dismissed; but, as the question is novel, without costs.
All concur.
Appeal dismissed.
